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                                   STATEMENT OF FACTS
        Your affiant,               , is a Special Agent assigned to the FBI’s Tampa Field Office.
In my duties as a Special Agent, I investigate violations of federal law. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police (USCP). Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.




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                            Identification of GEORGE GONZALEZ
       GEORGE GONZALEZ (“GONZALEZ”), currently of Brandon, Florida, traveled to
Washington, D.C., on January 6, 2021, from Baltimore, Maryland, where he lived at the time.
GONZALEZ was seen on the United States Capitol Grounds and inside the United States Capitol
Building on January 6, 2021, on surveillance footage and video footage taken by third parties.
Before he was identified, GONZALEZ was labeled “AFO-479.” GONZALEZ wore a light grey
hooded sweatshirt bearing the word “CUE” on the front and the words “And We Know” on the
back, black pants, a red, navy, and white hat with a pom-pom bearing the word “TRUMP” and the
number “45,” black gloves, and a dark camouflage medical mask. Throughout the day,
GONZALEZ removed the mask.
        On May 14, 2024, I interviewed GONZALEZ in person for approximately 40 minutes. I
asked GONZALEZ if he was in Washington, D.C., on January 6. He claimed that he could not
recall whether he was at the Capitol on January 6. By way of explanation, he said that he lived in
the Baltimore area at the time and sometimes conducted business in Washington, D.C. When
shown photos of AFO-479 and asked if the person depicted was him, GONZALEZ said it was not
him. He conceded that the person pictured looked like him, but insisted it was not him.
       Based on the time I spent with GONZALEZ and the time I have spent examining the photos
and videos of AFO-479 at the Capitol on January 6, I believe GONZALEZ’s claim that he could
not remember whether he was in D.C. on January 6, and his denial that he is the person shown in
the pictures as AFO-479, were untrue. Based on my investigation and my observations of
GONZALEZ personally, I have probable cause to believe that GONZALEZ is AFO-479 and the
individual pictured in the images below.
                          GONZALEZ’s Conduct on January 6, 2021
       According to video footage I have reviewed, on January 6, 2021, GONZALEZ initially
entered Capitol Grounds on the West Front of the U.S. Capitol. Throughout the day on Capitol
grounds, GONZALEZ’s conduct included breaking a window to gain entry into the Capitol
building and pushing police officers while inside the building. The following description of
GONZALEZ’s actions that day comes from CCTV footage and video taken by third parties.
       At approximately 2:10 p.m., Gonzalez climbed the Senate stairs to reach the Upper West
Terrace.




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                        Image 1: GONZALEZ on the Senate stairs.




                    Image 2: GONZALEZ on the Upper West Terrace.
      GONZALEZ approached the Senate Wing Door of the Capitol building. He struck one
window pane, and then struck the adjacent pane, shattering that pane when he struck it.



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               Image 3: GONZALEZ striking a window of the Capitol building.




            Image 4: GONZALEZ striking the window a second time, shattering it.
        At approximately 2:13 p.m., GONZALEZ climbed into the window frame and kicked the
shattered window open, pushing the broken glass to the floor. He then jumped into the Capitol
building.



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Image 5: GONZALEZ, standing in the window frame, leg raised, about to kick the window.




                  Image 6: GONZALEZ entering the Capitol building.




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                     Image 7: GONZALEZ after entering through window.
       I am informed by the Architect of the Capitol that the damage sustained to the above-
described window was more than $1,000.
       GONZALEZ traveled with his fellow rioters to the Crypt, where a line of USCP officers
was attempting to prevent the rioters from traveling further into the building. At approximately
2:17 p.m., GONZALEZ tried to forcibly breach the police line by charging toward the police, but
two USCP officers intercepted him.




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           Image 8: Officers intercepting GONZALEZ after he charged at them.
       The officers pushed GONZALEZ back toward the crowd of rioters, but GONZALEZ
charged toward them a second time with the intent of getting past them forcibly.




              Image 9: GONZALEZ charging toward officers a second time.




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        The rioters, including GONZALEZ, overwhelmed the police line in the Crypt and traveled
further into the Capitol building. GONZALEZ and other rioters walked south, pushing the police
line back, past the House Wing Door and through the Hall of Columns.




                   Image 10: GONZALEZ walking past the House Wing Door.
        GONZALEZ then went upstairs, to the second floor of the building, to Statuary Hall and
at approximately 2:34 p.m., he entered the Statuary Hall Connector, which led directly to the floor
of the House of Representatives. He was there for approximately eight minutes.




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                     Image 11: GONZALEZ in the Statuary Hall Connector.
        GONZALEZ exited the Capitol building via the Upper House Door at approximately 2:55
p.m., as part of a group of rioters who were ushered out by officers who had formed a police line.




                      Image 12: GONZALEZ exiting the Capitol building.




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                        Image 13: GONZALEZ after exiting the building.
       GONZALEZ was inside the Capitol building for approximately 42 minutes.
                             Charges Supported by Probable Cause
        Based on the foregoing, your affiant submits there is probable cause to believe that
GONZALEZ violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to
commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Secret Service’s protection of the Vice President
and his family and the Capitol Police’s protection of the U.S. Capitol.
        Your affiant submits that there is probable cause to believe that GONZALEZ violated 18
U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person designated in section 1114 of Title 18 while engaged in or on account
of the performance of official duties. Persons designated within section 1114 of Title 18 include
federal officers such as USCP officers, and include any person assisting an officer or employee of
the United States in the performance of their official duties.
       Your affiant submits that there is probable cause to believe that GONZALEZ violated 18
U.S.C. § 1361, which makes it a crime to willfully injure, damage, or destroy property of the
United States, or of any department or agency thereof. In this case, the damage to the property in
question exceeded the sum of $1,000.

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         Your affiant submits that there is probable cause to believe that GONZALEZ violated 18
U.S.C. § 1752(a)(1), (2), and (4), which make it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do so; (2) knowingly, and with intent to
impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; and (4) knowingly engage in any act of physical violence against
any person or property in any restricted building or grounds; or attempts or conspires to do so. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.
        Your affiant submits there is also probable cause to believe that GONZALEZ violated 40
U.S.C. § 5104(e)(2)(D), (F) and (G), which make it a crime to willfully and knowingly: (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings; and (G) parade, demonstrate, or picket in a Capitol Building.




                                                      Special Agent
                                                      FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 4th day of December 2024.
                                                                           Digitally signed by
                                                                           Matthew J. Sharbaugh
                                                                           Date: 2024.12.04
                                                                           11:17:07 -05'00'
                                                      ___________________________________
                                                      HON. MATTHEW J. SHARBAUGH
                                                      U.S. MAGISTRATE JUDGE




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